                    Case 3:24-mc-80266-JCS                       Document 2-17         Filed 10/24/24      Page 1 of 4


Linxuan Yan

From:                                             Hawk, Jon <jhawk@mwe.com>
Sent:                                             Friday, September 27, 2024 4:06 PM
To:                                               Joseph B. Shumofsky
Cc:                                               Jason Mays
Subject:                                          Re: Agdal v. Danis - Subpoena to X Corp. - Notification to the User(s) of @notamod921




*** External Email ***

Thanks. I’ll revert re the notice inquiry. My client contact is traveling all day today so it may not be today that I get back
to you on that.

JON HAWK
Partner
McDermott Will & Emery LLP 2049 Century Park East, Suite 3200, Los Angeles, CA 90067-3206
Tel +1 310 788 4181 | Email jhawk@mwe.com
Website | vCard | Twitter | LinkedIn




           On Sep 27, 2024, at 1:03 PM, Joseph B. Shumofsky <jshumofsky@sillscummis.com> wrote:

           [ External Email ]
           Correct. The motion will focus only on the subscriber information for the @notamod921 account.

           From: Hawk, Jon <jhawk@mwe.com>
           Sent: Friday, September 27, 2024 4:02 PM
           To: Joseph B. Shumofsky <jshumofsky@sillscummis.com>
           Cc: Jason Mays <jmays@mnrlawfirm.com>
           Subject: Re: Agdal v. Danis - Subpoena to X Corp. - Notification to the User(s) of @notamod921



           *** External Email ***

           Yes - it’s standard. And the first amendment unmasking would be the issue as you lay out below so that,
           I envision, would be all that’s presented.

           JON HAWK
           Partner
           McDermott Will & Emery LLP 2049 Century Park East, Suite 3200, Los Angeles, CA 90067-3206
           Tel +1 310 788 4181 | Email jhawk@mwe.com
           Website | vCard | Twitter | LinkedIn




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Case 3:24-mc-80266-JCS                 Document 2-17     Filed 10/24/24          Page 2 of 4
On Sep 27, 2024, at 1:00 PM, Joseph B. Shumofsky <jshumofsky@sillscummis.com>
wrote:

 [ External Email ]
Jon,

We will be filing in the ND CA.

Also, we’ll take a look at what you attached. I assume it is X’s standard responses and
objections to a subpoena?

Thanks,

Joseph

From: Hawk, Jon <jhawk@mwe.com>
Sent: Friday, September 27, 2024 3:55 PM
To: Joseph B. Shumofsky <jshumofsky@sillscummis.com>
Cc: Jason Mays <jmays@mnrlawfirm.com>
Subject: RE: Agdal v. Danis - Subpoena to X Corp. - Notification to the User(s) of
@notamod921



*** External Email ***

Thanks for the heads-up, Joe. I was optimistic it would be figured out via the parties but
understood. Here are responses so you have them for your motion.

Re notice, X generally does that as a matter of course once a subpoena is received. I’ll
double-check that has been done here. I presume so.

Re your motion, which court will you be filing it in? Happy to chat through live if
easier/more efficient.

Jon

JON HAWK
Partner
McDermott Will & Emery LLP 2049 Century Park East, Suite 3200, Los Angeles, CA 90067-3206
Tel +1 310 788 4181 | Mobile +1 626 755 1400 | Email jhawk@mwe.com
Website | vCard | Twitter | LinkedIn




From: Joseph B. Shumofsky <jshumofsky@sillscummis.com>
Sent: Friday, September 27, 2024 12:39 PM
To: Hawk, Jon <jhawk@mwe.com>
Cc: Jason Mays <jmays@mnrlawfirm.com>
Subject: Agdal v. Danis - Subpoena to X Corp. - Notification to the User(s) of
@notamod921

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[ External Email ]


Hi Jon,

We are circling back regarding the subpoena served on X seeking, among other things,
the subscriber information for the X account @notamod921. Consistent with our prior
discussions regarding subpoena compliance and your representation that, as a matter of
course, X asks parties issuing subpoenas that seek to unmask anonymous users to
obtain a court order, we expect to soon file a motion, among other things, (i) setting
forth a prima facie showing sufficient to satisfy any First Amendment safeguards, and (ii)
seeking an order directing X to produce the subscriber information for the
@notamod921 account. In that regard, neither we nor our client has the contact
information for the individual(s) behind the @notamod921 account to notify him/them
of the request for the subscriber information or the impending motion. To the extent X
has not done so already, X should notify the user(s) of the account @notamod921.

Please let me know if you have any questions.

Thanks,

Joseph

Joseph B. Shumofsky
Member
<image001.png>

                                   <image002.png>
                                   <image003.png>
website | vCard | newsroom | email <image004.png>



One Riverfront Plaza, Newark, NJ 07102
p (973) 643-5382 | f (973) 643-6500 map

101 Park Avenue, 28th Floor, New York, NY 10178
p (212) 643-7000 | f (212) 643-6500 map

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